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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, ET AL.,

         PLAINTIFFS,

 V.                                             CASE NO. 5:21-CV-00844-XR

 GREGORY W. ABBOTT, ET AL.,

         DEFENDANTS.


STATE DEFENDANTS’ AND INTERVENOR-DEFENDANTS’ MOTION FOR STAY
 PENDING APPEAL OR, IN THE ALTERNATIVE, FOR ADMINISTRATIVE STAY
    PENDING APPEAL AND REQUEST FOR EXPEDITED CONSIDERATION


        Defendants Greg Abbott, in his official capacity as Texas Governor; Warren “Ken”

Paxton, in his official capacity as Attorney General of Texas; Jane Nelson, in her official capacity

as Secretary of State; and the State of Texas (collectively “State Defendants”) and Intervenor-

Defendants file this Motion to Stay the Court’s Findings of Fact and Conclusions of Law on

Overbreadth, Vagueness, and Free Speech Challenges to S.B. 1 § 7.04, ECF No. 1157, and the

Court’s permanent injunction included therein, pending appeal. Alternatively, should the Court

deny Defendants’ Motion to Stay, State and Intervenor-Defendants request that the Court enter
an order granting a seven-day administrative stay to allow the State and Intervenor-Defendants to

seek further relief at the appellate level.

        The Court should stay its injunction because its ruling involves a serious legal question in

which the balance of equities weighs heavily in favor of a stay. State Defendants respectfully urge

that the Court’s ruling is incorrect for the reasons explained below. Of particular note, the Court’s

reading of Purcell as it applies to this case is incorrect: ballots have been sent to Texas voters,

making this the only time in which ballot harvesting can occur. That singular truth lends urgency

to this motion because the Court’s injunction prevents law enforcement from swift investigatory

action based on real-time information concerning vote harvesting. In short, now is the only time

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when § 7.04 affords law enforcement the opportunity to prevent ballot harvesting from interrupting

the legal conduct of elections, as opposed to conducting a purely retroactive investigation.

          For all these reasons, as further set forth below, a stay while the Fifth Circuit considers the

merits of this Court’s order is warranted.

                                             BACKGROUND

          On September 7, 2021, Texas Governor Greg Abbott signed into law the Election

Protection and Integrity Act of 2021, an omnibus election law commonly referred to as S.B. 1. See

Tex. Leg., An Act Relating to Election Integrity and Security, S.B. 1, 87th Leg., 2d Spec. Sess.

(2021). Multiple lawsuits soon followed, which were ultimately consolidated into the present

action.

          This motion stems from Plaintiffs’ challenge to S.B. 1 § 7.04 on First and Fourteenth

Amendment grounds. Section 7.04 adds a provision to the Election Code prohibiting vote

harvesting, whether directly or through a third party, which it defines as “in-person interaction

with one or more voters, in the physical presence of an official ballot or a ballot voted by mail,

intended to deliver votes for a specific candidate or measure.” Tex. Elec. Code § 276.015. The

prohibition does not apply to activities not performed for compensation or benefit and interactions

that do not occur in the presence of a ballot or during the voting process, that do not directly involve

an official ballot or ballot by mail, that are not conducted in person with a voter, and activities that

are not designed to deliver votes for or against a specific candidate or measure. Tex. Elec.

Code § 276.015.

          The Court conducted a bench trial beginning on September 11, 2023, and lasting 20 trial

days spread across six weeks. Trial consisted of evidence regarding Plaintiffs’ multifarious claims

against some three dozen provisions of SB 1. The Parties submitted their proposed findings of fact

and conclusions of law to the Court on January 19, 2024, and the Court heard closing arguments

on February 13, 2024. The Court issued its opinion regarding § 7.04 on Saturday, September 28,

2024—only 38 days before the next general election.



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                                            ARGUMENT

       Before seeking relief from the Fifth Circuit, “[a] party must ordinarily move first in the

district court” for “a stay of the judgment or order” pending appeal or for “an order

suspending . . . an injunction while an appeal is pending.” Fed. R. App. P. 8(a)(1). Federal Rule of

Civil Procedure 62(d) similarly authorizes a court to suspend an injunction during the pendency of

an appeal from a final judgment. Fed. R. Civ. P. 62(d). As the Supreme Court has repeatedly

explained, there is a four-factor test that “governs a court’s consideration of a motion for stay

pending appeal: ‘(1) whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay;

(3) whether issuance of the stay will substantially injure the other parties interested in the

proceeding; and (4) where the public interest lies.” United States v. Transocean Deepwater Drilling,

Inc., 537 F. App’x 358, 360 (5th Cir. 2013) (per curiam) (quoting Nken v. Holder, 556 U.S. 418, 426

(2009)); accord Planned Parenthood of Greater Tex. Surgical Health Servs. v. Abbott, 734 F.3d 406,

410 (5th Cir. 2013).

       These factors are not applied in “a rigid, mechanical fashion,” but rather “the movant

‘need only present a substantial case on the merits when a serious legal question is involved and

show that the balance of equities weighs heavily in favor of granting the stay,’ ” as opposed to

demonstrating a likelihood of success on the merits. United States v. Baylor Univ. Med. Ctr., 711

F.2d 38, 39 (5th Cir. 1983) (per curiam) (quoting Ruiz v. Estelle, 650 F.2d 555, 565 (5th Cir. Unit A

June 1981)). A stay is particularly appropriate when existing case law does not provide clarity or

guidance in resolving the serious legal questions involved. See Texas v. Ysleta Del Sur Pueblo, No.

EP-17-CV-179-PRM, 2019 WL 5589051, at *1–2 (W.D. Tex. March 28, 2019) (granting stay given

serious legal question raised and lack of clarity from existing precedent). A stay pending appeal

“simply suspend[s] judicial alteration of the status quo,” which allows “appellate court[s] to act

responsibly,” “bring considered judgment” to the matter, and faithfully “fulfill their role in the

judicial process.” Nken, 556 U.S. at 427, 429 (internal quotation marks omitted). Indeed, the

Supreme Court has held:

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        It takes time to decide a case on appeal. Sometimes a little; sometimes a lot. “No
        court can make time stand still” while it considers an appeal, Scripps–Howard Radio,
        Inc. v. FCC, 316 U.S. 4, 9, 62 S.Ct. 875, 86 L.Ed. 1229 (1942), and if a court takes
        the time it needs, the court's decision may in some cases come too late for the party
        seeking review. That is why it “has always been held, ... that as part of its traditional
        equipment for the administration of justice, a federal court can stay the enforcement
        of a judgment pending the outcome of an appeal.” Id., at 9–10, 62 S.Ct. 875
        (footnote omitted). A stay does not make time stand still, but does hold a ruling in
        abeyance to allow an appellate court the time necessary to review it.
Id. at 421.

        More relevant, here, this Court must weigh “considerations specific to election cases”—

namely, that “[c]ourt orders affecting elections, especially conflicting orders, can themselves

result in voter confusion and consequent incentive to remain away from the polls.” Purcell v.

Gonzalez, 549 U.S. 1, 4–5 (2006). The Supreme Court therefore has “repeatedly emphasized that

lower federal courts should ordinarily not alter the election rules on the eve of an election,” and

that when they do so, defenders of the status quo have necessarily “made a strong showing that

[they are] likely to succeed on the merits of [their] appeal.” Tex. All. for Retired Ams. v. Hughs, 976

F.3d 564, 566–68 (5th Cir. 2020) (citing Republican Nat’l Comm. v. Democratic Nat’l Comm., 140

S.Ct. 1205, 1207 (2020)). The “timing of the decisions rather than merits” of the legal questions

raised “seems to be the key.” Veasey v. Perry, 769 F.3d 890, 895 (5th Cir. 2014); see, e.g., Husted v.
Ohio State Conf. of NAACP., 573 U.S. 988 (2014) (staying a lower court order that changed election

laws sixty days before the election).

        Based on these considerations, (1) Defendants are likely to succeed on the merits; (2) they

will suffer irreparable harm in the absence of a stay; (3) Plaintiffs will not be substantially harmed

by a stay; and (4) the public interest favors a stay. Accordingly, all four factors relevant to a stay
pending appeal are met here.

I.      The Court Misapplied the Purcell Principle by Focusing Too Narrowly on Procedural
        Election Processes.
        This Court fundamentally misapplied the Purcell principle by narrowly limiting its scope to

“mechanics and procedures of election law applicable to voting.” ECF No. 1157 at 76. But this


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cramped analysis misses the broader rationale of Purcell v. Gonzalez, 549 U.S. 1 (2006), which

extends beyond mere election mechanics to encompass any judicial intervention that risks

confusion or disruption as an election approaches. Simply put, Purcell places an emphasis on

stability and certainty in the lead-up to an election. This principle applies not only to procedural

rules but to any changes that could affect the election process, whether they involve procedures,

voter eligibility, or the enforcement of laws. This Court’s ruling—issued after ballots had already

been mailed—embodies the kind of last-minute disruption that Purcell was designed to prevent.

       Indeed, Purcell stands for the proposition that, as an election nears, the status quo should

remain undisturbed to avoid creating confusion among voters and overburdening election

administrators. The Court’s decision to intervene at such a late stage, when the election is mere

weeks away and ballots have already gone out, exemplifies the kind of disruptive judicial action

Purcell guards against. By ordering changes after the electoral machinery was already in motion,

the Court’s ruling introduces instability into a system that relies on certainty, thereby exacerbating

the very confusion Purcell seeks to avoid. This late-breaking ruling does not just affect election

administrators—it also risks unsettling voters who, having already received their ballots, now face

the prospect of changing rules and heightened uncertainty.

       As Justice Kavanaugh recently emphasized in Merrill v. Milligan, “[w]hen an election is

close at hand, the rules of the road must be clear and settled.” 142 S. Ct. 879, 880–81 (2022)

(Kavanaugh, J., concurring). This principle is not limited to procedural changes but encompasses

any judicial action that risks creating confusion or logistical difficulties as an election approaches.

Purcell recognizes that even well-intentioned judicial interventions can wreak havoc on the smooth

administration of elections when they come too late in the process. In this case, the Court’s

decision disrupts well-established expectations for election administrators and voters alike, forcing

officials to scramble to adjust their procedures while voters are left uncertain about the rules

governing their participation.

       The Supreme Court has repeatedly applied Purcell to stop judicial orders that impose new

election rules close to an election—regardless of whether those rules concern voter eligibility,

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ballot collection, or election administration. See, e.g., RNC v. DNC, 589 U.S. 423 (2020); Andino

v. Middleton, 141 S. Ct. 9, 10 (2020). In none of these cases did the Court distinguish between

procedural and substantive rules or “enforcement proceedings.” ECF No. 1157 at 76. Instead, the

unifying thread is the recognition that last-minute judicial tinkering with election laws creates

unacceptable risks of confusion and disruption. The Court’s intervention here falls squarely within

this forbidden territory, upending established processes mere weeks before Election Day and

undermining the integrity of the electoral process.

       Even accepting the Court’s overly narrow interpretation of Purcell, the reality is that

Section 7.04 directly impacts election procedures. Section 7.04 regulates in-person interactions

with voters in the presence of ballots, prohibiting paid canvassers from attempting to influence

votes when a ballot is physically present. This is not some abstract, theoretical issue—it is a

procedural safeguard that governs interactions during the voting process itself and safeguards the

integrity of elections. Now that ballots have been mailed, the application of Section 7.04 is at its

peak, making the Court’s late-breaking decision even more disruptive.

       To that end, the timing of this ruling could not be worse. The trial concluded nearly a year

ago, and closing arguments were presented eight months ago. Yet the Court waited until after

ballots were mailed to issue its opinion, compounding confusion, and creating a logistical

nightmare for election officials. Texas election law mandates that ballots be mailed 45 days before

the election for vote-by-mail voters, Tex. Elec. Code § 86.004(b); see also 52 U.S.C. § 20302(a)(8),

and those ballots are now in circulation. To impose a change at this stage not only strains election

administrators but also undermines voter confidence in the electoral process. As Purcell warns,

such last-minute judicial action “can result in voter confusion” and be an “incentive to remain

away from the polls.” 549 U.S. 1 at 4–5. That risk is even greater here, as multiple Plaintiff

Organizations have complained about training and educating Texans about Section 7.04, see, e.g.,

Tr. 1620:2–6, 1628:2–15, Tr. 1723:14–19 (Sept. 21, 2024), but now do not have the time to

communicate the Court’s changes given the immediacy of the election.



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        In sum, the Court’s narrow focus on procedural election processes is inconsistent with the

broad application of the Purcell principle. Purcell and its progeny make clear that any judicial

intervention near an election risks disrupting the election process, period. As Justice Kavanaugh

aptly noted, “[i]t is one thing for a State. . . to toy with its election laws close to a State’s elections.

But it is quite another thing for a federal court to swoop in and re-do a State’s election laws in the

period close to an election.” Merrill, 142 S. Ct. at 881. The Court’s late intervention introduces

exactly the kind of confusion and logistical hurdles that Purcell seeks to prevent, forcing election

administrators to reconfigure their operations mid-election cycle, and leaving voters uncertain

about the rules governing their participation. For these reasons, the Court’s ruling should be stayed

pending appeal to preserve the integrity of the upcoming election and prevent the disruption that

Purcell and its progeny are designed to avoid.

II.     State Defendants Are Likely to Succeed on the Merits.

        State Defendants are likely to succeed on the merits for three reasons. First, sovereign

immunity bars Plaintiffs’ claims. Second, Plaintiffs lack standing. Third, Plaintiffs are unlikely to

succeed on the merits of their claims under the First and Fourteenth Amendments.

        A. Sovereign immunity bars Plaintiffs’ claims.

        This Court erred in concluding that sovereign immunity does not protect the State

Defendants from Plaintiﬀs’ claims. See ECF No. 1157 at 27–33. Sovereign immunity, as established

in the Eleventh Amendment and reaﬃrmed by centuries of jurisprudence, protects states from

suits by private individuals in federal courts unless an exception applies. Russell v. Jones, 49 F.4th

507, 512 (5th Cir. 2022). As the Supreme Court explained, sovereign immunity preserves the

“residual sovereignty” of the states. Alden v. Maine, 527 U.S. 706, 715 (1999). Here, no exception

to sovereign immunity applies, and the Court’s reliance on Ex parte Young is misplaced and

improperly stretches the exception beyond its intended scope.

        The Court’s analysis largely disregards the strict limitations that sovereign immunity

imposes on federal court jurisdiction over state oﬃcials. It is well-settled law that individuals may

not sue a state or state oﬃcials unless the state consents to the suit or Congress unequivocally

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abrogates immunity in the speciﬁc context. Neither occurred here. By allowing Plaintiﬀs to proceed

against the State Defendants, the Court’s ruling undermines the core principles of state sovereignty

and exceeds the boundaries established by precedent.

           1. The Ex parte Young exception does not apply to the Secretary of State.

       The Court’s application of the Ex parte Young exception to the Secretary of State is flawed.

ECF No. 1157 at 27–34. Under Ex parte Young, state officials may be sued in their official capacity

only if they have a direct connection to the enforcement of the challenged law. This connection

must be more than a general duty to enforce the law—it must involve a “particular duty” to

enforce the specific provision being challenged, and the official must demonstrate a willingness to

do so. Tex. All. for Retired Americans v. Scott, 28 F.4th 669, 672 (5th Cir. 2022) (quoting Tex.

Democratic Party v. Abbott, 978 F.3d 168, 179 (5th Cir. 2020)).

       The Court failed to properly analyze the Secretary of State’s limited role in the

enforcement of S.B. 1. Texas Alliance for Retired Americans, 28 F.4th at 672. The Secretary’s role

is largely administrative and informational, not enforcement focused. The Court, however, glossed

over this distinction and incorrectly extended the Ex parte Young exception to the Secretary of State

based on a general duty to oversee elections—a position squarely rejected by the Fifth Circuit in

TDP II and City of Austin.

       For instance, Article II of S.B. 1 involves voter registration and the maintenance of voter

rolls, functions handled by local officials. The Secretary’s role is limited to sharing information,

which does not constitute enforcement through “compulsion or constraint” as required by Ex

parte Young. Similarly, Articles III and IV, which govern election procedures and security, assign

enforcement duties to local election officials, not the Secretary of State. The court improperly

ignored this clear delineation of responsibilities in reaching its conclusion.

       Moreover, the Court did not address the critical distinction that mere oversight of elections

does not equate to the enforcement of specific statutory provisions. The Fifth Circuit has

consistently rejected attempts to impose Ex parte Young liability on state officials who are not

directly responsible for enforcing the challenged law. City of Austin v. Paxton, 943 F.3d 993, 1000

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(5th Cir. 2019). The Secretary of State’s role is administrative and does not involve compelling or

constraining anyone to comply with S.B. 1. By misapplying the Ex parte Young exception, the Court

undermined established sovereign immunity protections.

           2. The Attorney General lacks the requisite enforcement connection under Ex
              parte Young.
       The Court also erred in applying the Ex parte Young exception to the Attorney General.

Like the Secretary of State, the Attorney General lacks a sufficient enforcement connection to S.B.

1 to fall within the exception. The Court failed to appreciate that simply being the state’s chief legal

officer does not automatically make the Attorney General a proper defendant under Ex parte Young.

As the Fifth Circuit held in City of Austin, the Attorney General's “habit” of enforcing state law

does not satisfy the requirement for a specific enforcement connection to the challenged

provisions. City of Austin, 943 F.3d at 1000–02.

       More critically, the Texas Court of Criminal Appeals has ruled that the Attorney General

does not have the unilateral authority to prosecute criminal violations of election law. State v.

Stephens, 663 S.W.3d 45 (Tex. Crim. App. 2021). This ruling fundamentally undercuts the Court’s

analysis. The Court did not meaningfully grapple with this significant limitation on the Attorney

General’s enforcement powers and incorrectly presumed that the Attorney General has the

authority to enforce S.B. 1’s provisions, when such enforcement falls to local prosecutors. ECF

No. 1157 at 17.

       Additionally, the Court speculated that the Attorney General might assist local prosecutors

in enforcing S.B. 1, ECF No. 1157 at 44, but this conjecture is insufficient to satisfy the strict

requirements of Ex parte Young. As the Fifth Circuit held in In re Abbott, “speculation that [the

Attorney General] might be asked by a local prosecutor to ‘assist’ in enforcing” criminal laws is

inadequate to support an Ex parte Young action. In re Abbott, 956 F.3d 696, 709 (5th Cir. 2020).

The Court’s reliance on this speculative possibility is legally insufficient and undermines the

proper application of sovereign immunity.



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           3. This Court failed to adequately address the limits of the Ex parte Young
              exception.
       The Court’s analysis also faltered by failing to recognize the inherent limitations of the Ex

parte Young exception. The Fifth Circuit has made clear that the Ex parte Young exception applies

only when state officials have a direct and specific enforcement role. It is not enough that an official

is responsible for the general administration of a statute or that they might, at some point, be called

upon to enforce it.

       In this case, the court should have adhered to the Fifth Circuit’s precedent in City of Austin,

which emphasizes the narrow application of the Ex parte Young exception. The Court disregarded

this precedent, instead applying an overly broad interpretation of Ex parte Young that contravenes

established sovereign immunity protections. By failing to properly assess the enforcement roles of

the Secretary of State and Attorney General, the court misapplied the exception and allowed

Plaintiffs’ claims to proceed against state officials who are immune from suit.

           4. Plaintiffs have shown no other basis for overcoming sovereign immunity.
       Besides misapplying the Ex parte Young doctrine, the Court failed to address the fact that

Plaintiﬀs did not establish any alternative basis for overcoming sovereign immunity. Sovereign

immunity bars suits unless Congress has unequivocally abrogated it or the state has expressly

waived it. City of Austin, 943 F.3d at 997. Plaintiﬀs made no showing that Congress has abrogated

Texas’s sovereign immunity for their claims or that Texas has consented to be sued in this context.

Without such a showing, the Court should have dismissed the claims against the State Defendants

on sovereign immunity grounds.

       In conclusion, Court’s rejection of the State Defendants’ sovereign immunity defense was

legally ﬂawed. By misapplying the Ex parte Young exception and failing to adhere to controlling Fifth

Circuit precedent, the court improperly allowed Plaintiﬀs’ claims to proceed against state oﬃcials

who are immune from suit.

       B. Plaintiffs lack standing.




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       The Court’s reasoning that plaintiffs have standing to challenge Section 7.04 of S.B. 1 is

fundamentally flawed. ECF No. 1157 at 34–45. Plaintiffs assert an organizational injury to their

speech based on a speculative overbreadth argument, but this rests on far-fetched hypothetical

scenarios that have no basis. See also infra I(C)(2)(a). To satisfy standing requirements, this type

of self-censorship must arise from a fear of prosecution that is not “imaginary or wholly

speculative.” Babbitt v. United Farm Workers Nat. Union, 442 U.S. 289, 302 (1979). A fear of

prosecution is “imaginary or wholly speculative” where plaintiffs “do not claim that they have

ever been threatened with prosecution, that a prosecution is likely, or even that a prosecution is

remotely possible.’” Id. (quoting Younger v. Harris, 401 U.S. 37, 42 (1971)).

       For example, Plaintiffs claim a paid canvasser could unknowingly violate Section 7.04

simply because a ballot might be hidden somewhere in the room or in a voter’s purse. These

scenarios lack any factual support; Plaintiffs presented no real evidence that such a situation has

ever occurred or would plausibly occur. Texas prosecutors have neither investigated nor

prosecuted anyone under such circumstances.

       The statute also includes a scienter requirement, which ensures that accidental or

inadvertent conduct is not criminalized. See Infra I(C)(1). The law specifically targets intentional

and knowing acts of delivering votes for compensation, thus undermining plaintiffs’ fears of

prosecution for innocent conduct. This speculative fear does not meet the requirement for

standing under established Supreme Court precedent, including Babbitt, 442 U.S. 289 and Younger

v. Harris, which require plaintiffs to demonstrate a credible, not speculative, fear of prosecution.

       For these same reasons, the Court’s reliance on 303 Creative LLC v. Elenis, 600 U.S. 570

(2023), is misplaced. ECF No. 1157 at 42. Plaintiffs fail to show they face as daunting a threat of

enforcement as Lorie Smith did in 303 Creative. See 600 U.S. at 580 (Smith was required to show

‘a credible threat’ existed that Colorado would, in fact, seek to compel speech from her that she did

not wish to produce.”) (emphasis added) (citation omitted). Indeed, Smith pointed to a recent,

concrete example of a prosecution under similar circumstances to substantiate that “credible

threat,” id. at 581-82, whereas Plaintiffs indisputably lack such evidence here.

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       Similarly, Plaintiffs’ attempt to argue that Section 7.04 chills their speech also falls short.

The Texas Secretary of State and the Attorney General do not possess enforcement authority

under this provision. Supra at I(A)(1)–(2). Enforcement lies with local district attorneys, and

Plaintiffs have failed to show a credible threat of enforcement from any district attorney. As a

result, their standing argument lacks the constitutional foundation required for them to proceed

with this claim.

       C. Plaintiffs are unlikely to succeed on the merits of their Claims under the First and
          Fourteenth Amendments.
       Section 7.04 is neither facially overbroad, unconstitutional as applied to Plaintiffs, nor

vague. First, Plaintiffs’ facial overbreadth challenge fails as they do not demonstrate that a

substantial number of the statute’s applications are unconstitutional compared to its legitimate

scope. Their hypotheticals are far-fetched and lack real-world evidence. The scienter requirement

ensures that only intentional vote-buying is penalized, further narrowing its scope. Second, Section

7.04 withstands scrutiny under the Anderson/Burdick framework as it imposes only a minimal

burden on speech, narrowly targeting paid canvassers who influence voters in the presence of a

ballot. The statute’s limited application serves the State’ compelling interest in protecting voters

from undue influence, making it constitutional even under strict scrutiny. Finally, Section 7.04 is

not impermissibly vague. It clearly defines prohibited conduct, such as in-person interactions
aimed at influencing a voter for compensation, and includes a scienter requirement to address any

concerns. Plaintiffs’ challenge is premature, speculative, and does not establish that the statute is

vague in all applications.

           1. The prohibition on vote harvesting is not facially overbroad.

       To prevail on a facial overbreadth challenge, Plaintiffs bear the burden of proving that “a

substantial number of [Section 7.04’s] applications are unconstitutional, judged in relation to the

statute’s plainly legitimate sweep.” Voting for Am., Inc. v. Steen, 732 F.3d 382, 387 (5th Cir. 2013)

(quoting United States v. Stevens, 559 U.S. 460, 473 (2010)). But the Court erred in accepting



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Plaintiffs’ facial challenge without properly applying this stringent standard. ECF No. 1157 at 53–

59.

        For starters, Plaintiffs’ hypothetical examples used to argue overbreadth are far-fetched

and implausible. Their scenarios include situations such as a paid canvasser unknowingly

advocating for a particular vote while a ballot is hidden somewhere in the room or even in a voter’s

purse. See, e.g., ECF No. 208 ¶ 294; Tr. 1780:17–1781:4 (Sept. 22, 2023). However, Plaintiffs

presented no real evidence—neither at trial nor in their pleadings—that such a scenario has ever

occurred or would realistically occur under Section 7.04. Indeed, no evidence was provided that

Texas prosecutors have investigated, much less prosecuted, individuals under such circumstances.

        In fact, Section 7.04 is explicitly limited by its scienter requirement, which requires

knowledge and intent to deliver votes in exchange for compensation. See SB 1 §§ 7.04(b)-(d); Tex.

Penal Code § 6.02(c); ECF No. 1157 at 65–66. The statute does not penalize accidental or

inadvertent conduct, a fact that further undermines the Plaintiffs’ hypothetical fears of prosecution

for innocent or unwitting acts. As a result, Plaintiffs’ overbreadth argument relies on speculative,

rather than real-world, applications of the statute.

        Further, the Court must analyze overbreadth claims by considering real-world conduct, not

improbable hypotheticals. See United States v. Williams, 553 U.S. 285, 301 (2008) (“[T]he mere

fact that one can conceive of some impermissible applications of a statute is not sufficient to render

it susceptible to an overbreadth challenge.”). Here, the Court wrongly credited Plaintiffs’ fanciful

hypotheticals rather than focusing on concrete evidence. The record shows that Section 7.04 has

not been enforced against unwitting canvassers or anyone engaged in the innocent scenarios

Plaintiffs describe.

        Moreover, Section 7.04 serves a legitimate state interest in protecting voters from undue

influence during the voting process. Contra ECF No. 1157 at 59–62. As explained at trial by former

Secretary of State Keith Ingram, Section 7.04 allows organizations to pay canvassers for legitimate

voter outreach while ensuring that voters are not harassed or pressured while completing their

mail-in ballots. Tr. 1915:17–19 (Sept. 22, 2023). This purpose mirrors the State’s protections for

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in-person voters, who benefit from laws requiring canvassers to remain 100 feet from polling

places. See Tex. Elec. Code Ann. § 61.003, 85.036. The U.S. Supreme Court has upheld such

distance restrictions as constitutional and necessary to maintain the integrity of the voting process.

Burson v. Freeman, 504 U.S. 191, 210 (1992).

       The Court also erred in failing to recognize Section 7.04’s “plainly legitimate sweep.”

Stevens, 559 U.S. at 473. ECF No. 1157 at 53–59. By enacting Section 7.04, Texas has extended

valid protections to mail-in voters that are analogous to those afforded to in-person voters. The

statute prevents paid partisans from haranguing citizens while they complete their ballots, a

restriction that is entirely reasonable and constitutional. Given the clear state interest in preventing

voter intimidation and ensuring the sanctity of the ballot, Section 7.04’s protections fall squarely

within its legitimate scope.

       Finally, Plaintiffs’ facial challenge is premature. As the Supreme Court has noted, courts

must give states the opportunity to implement laws in a manner consistent with the Constitution.

Washington State Grange v. Washington State Republican Party, 552 U.S. 442, 451 (2008). Texas has

not had the opportunity to enforce Section 7.04 in the unreasonable ways that Plaintiffs

hypothesize, and it is wrong to assume that state prosecutors will interpret the law in an

unconstitutional manner.

       For these reasons, the Court erred in concluding that Section 7.04 is facially overbroad.

Plaintiffs failed to meet their burden of demonstrating that a substantial number of the statute’s

applications are unconstitutional in relation to its plainly legitimate sweep.

           2. The prohibition on vote harvesting is not unconstitutionally vague.

                   a. The Court erred in entertaining Plaintiffs’ pre-enforcement facial
                      challenges.
       The Court prematurely entertained Plaintiffs’ facial vagueness challenge to Section 7.04.

ECF No. 1157 at 66–72. Pre-enforcement vagueness challenges should generally be disfavored,

particularly when the law has not yet been enforced, and factual contexts are lacking. Roark &

Hardee LP v. City of Austin, 522 F.3d 533, 547 (5th Cir. 2008) (explaining that assessing facial

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vagueness in a pre-enforcement context is often "difficult, perhaps impossible, because facts are

generally scarce”). A vagueness challenge is most appropriate as a defense to prosecution, where

the facts can be properly evaluated. Burson v. Freeman, 504 U.S. 191, 210 n.13 (1992); Schirmer v.

Edwards, 2 F.3d 117, 124 (5th Cir. 1993).

       This case exemplifies why pre-enforcement challenges are improper. During the trial, no

witness testified that they had been prosecuted, threatened with prosecution, or received a civil

penalty under Section 7.04. See Tr. 581:2–9, 633:4–19 (Sept. 13, 2023). Plaintiffs’ arguments were

based solely on speculation as to how Texas prosecutors and courts might enforce the law. For

example, Plaintiffs hypothesized that unwitting canvassers would be prosecuted for advocating in

the presence of a hidden mail ballot. See Tr. 1780:17–1781:4 (Sept. 22, 2023). However, as

explained by former Director of Elections Keith Ingram, the statute does not reach such conduct.

Tr. 1915:17–19 (Sept. 22, 2023); Tr. 4434:20–4435:18 (Oct. 18, 2023).

       Because there is no real-world application of the law to evaluate, Plaintiffs’ challenge is

speculative. Under these circumstances, the proper course is to allow Texas courts to interpret and

apply Section 7.04 in actual cases. If enforcement actions arise, Texas courts may limit the

application of the statute as necessary, rather than facially invalidating it based on hypothetical

scenarios. Burson, 504 U.S. at 210 n.13.

                   b. In any event, the Court erred in finding Section 7.04 void for vagueness.

       The Due Process Clause requires that laws provide “fair notice” of what conduct is

proscribed, but it does not demand impossible clarity or perfection. Sessions v. Dimaya, 584 U.S.

148 (2018). Many constitutional statutes necessarily contain imprecise language, and vagueness

challenges succeed only when a statute is “impermissibly vague in all of its applications.” Vill. of

Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 495 (1982). This standard is highly

deferential to legislatures, and Plaintiffs have not met this high bar. Section 7.04 provides clear and

specific standards for prohibited conduct. It criminalizes instances where a person engages in an

“in-person interaction” with a voter, in the physical presence of a ballot, with the intent to

influence the voter’s choice, while receiving compensation. Tex. Elec. Code Ann. § 276.015. The

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language of Section 7.04 is straightforward, and each element of the crime is clearly defined. There

is no genuine ambiguity in the statute’s application to the archetypal scenario it is designed to

address—paid canvassers attempting to influence voters while in the immediate presence of a

ballot.

          The Court’s finding that the term “physical presence” is vague is wrong. ECF No. 1157 at

68–70. Similar language is found in numerous statutes and does not pose constitutional vagueness

concerns. See, e.g., 42 U.S.C. § 3030s(a) (referring to “in-person interaction”). Further, the law

does not demand that legislatures draft statutes with mathematical precision, nor must they

eliminate every potential scenario in which terms could be stretched. Roark & Hardee LP, 522 F.3d

at 548.

          Moreover, Texas law requires that prosecutors prove scienter for every element of a

criminal offense. Contra ECF No. 1157 at 65–66. This requirement addresses any concerns about

vagueness in Section 7.04. To secure a conviction, prosecutors must demonstrate that the

defendant was at least reckless in disregarding the risk that they were engaging in proscribed

conduct, including the risk that they were in the presence of a ballot. Tex. Penal Code §§ 6.02(c),

6.03(c). The inclusion of a scienter requirement mitigates any potential vagueness issues. See

Village of Hoffman Estates, 455 U.S. at 499 & n.14.

          This Court also found that the term “compensation or other benefit” is vague. ECF No.

1157 at 68–70. But the statutory definition of “benefit” as anything reasonably regarded as a gain

or advantage is clear. TEC § 276.015(a)(1). Plaintiffs’ objection here is not one of vagueness but of

policy disagreement with the legislature’s decision to regulate paid vote-harvesting activities.

          Finally, Section 7.04 is not vague in all its applications. The statute clearly applies to the

prototypical scenario in which a paid canvasser pressures a voter to fill out a mail ballot in the

canvasser’s presence. Tr. 1912:22–1913:13, 1915:3–25, 1917:23–1918:3 (Sept. 22, 2023). There is

nothing ambiguous about this core application of the law, which squarely fits within the statute’s

plain language.



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       In conclusion, the Court’s holding that Section 7.04 is void for vagueness was erroneous.

The Plaintiffs’ pre-enforcement challenge was speculative and premature, and even if considered,

Section 7.04 is clear, provides fair notice, and withstands constitutional scrutiny.

           3. The prohibition on vote harvesting is not unconstitutional as applied to
              Plaintiffs’ speech.

                   a. The Court applied strict scrutiny when it should have applied the
                      Anderson/Burdick test.
       The Court erred in finding Section 7.04 unconstitutional as applied to the Plaintiffs. ECF

No. 1157 at 72–74. The correct analytical framework for determining the constitutionality of

election laws with incidental effects on speech is the Anderson/Burdick test, rather than strict

scrutiny. Voting for America, Inc., 732 F.3d at 387–88. Contra ECF No. 1157 at 49. Under this

framework, courts first determine whether the election rule imposes a “severe” burden on

protected speech. If the burden is severe, the rule must be “narrowly drawn to advance a state

interest of compelling importance.” Burdick v. Takushi, 504 U.S. 428, 434 (1992). However, if the

burden is less than severe, the rule is justified by “important regulatory interests.” Timmons v.

Twin Cities Area New Party, 520 U.S. 351, 358 (1997).

       Section 7.04 withstands scrutiny under the Anderson/Burdick framework because it

imposes only an incidental and modest burden on speech. The statute is narrowly tailored and

applies only to highly specific situations: namely, when paid canvassers engage with voters in the

physical presence of a ballot and attempt to influence how those voters cast their votes. Tr.

1912:22–1913:13, 1915:3–25, 1917:23–1918:3 (Sept. 22, 2023). It does not broadly restrict canvassing

activities outside these narrowly defined parameters. Tr. 1915:17–19 (Sept. 22, 2023).

       Further, Section 7.04 only applies when the canvasser knowingly interacts with a voter in

the presence of a ballot. This limitation ensures that the statute applies only to a narrow range of

scenarios. The statute also explicitly exempts activities that are not compensated or that do not

occur in the presence of a ballot, thereby further limiting its reach. Tex. Elec. Code

Ann. § 276.015(e). Consequently, paid canvassers remain free to engage in advocacy so long as


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they are not in the immediate presence of a ballot—a situation that will constitute most

interactions. Tr. 4434:20–4436:14 (Oct. 18, 2023).

       This approach mirrors constitutionally permissible restrictions on solicitation near polling

places, which the Supreme Court has upheld as necessary to prevent undue influence and protect

voters from harassment. Burson v. Freeman, 504 U.S. 191, 210 (1992). Section 7.04’s modest

restrictions serve the same compelling interest: ensuring that voters are free from undue influence

while completing their ballots. This concern is particularly acute in the context of mail-in voting,

where voters may be more vulnerable to pressure from paid partisans, especially elderly voters. See

Veasey v. Abbott, 830 F.3d 216, 239 (5th Cir. 2016). The State’s compelling interest in preventing

such influence justifies the statute’s modest and narrowly tailored burden on speech.

                   b. Even under strict scrutiny, Section 7.04 is not unconstitutional.

       All 50 states have laws requiring secret ballots and limiting access to polling places to

prevent voter coercion. See Burson, 504 U.S. at 206. These laws reflect the widely accepted notion

that protecting voters from undue pressure while they are voting is a compelling state interest. Id.

at 199. The same concerns that justify protecting in-person voters apply even more forcefully to

mail-in voters, who lack the protections of in-person voting overseen by election officials. Brnovich

v. Democratic Nat'l Comm., 594 U.S. 647 (2021). Section 7.04 simply extends these legitimate

protections to mail-in voting.

       Beyond that, the statute is narrowly tailored to address the State’s interest in preventing

undue influence. Contra ECF No. 1157 at 60–62. It only restricts paid canvassers from advocating

while physically in the presence of a ballot—a moment when the risk of pressure is highest. Tr.

1912:22–1913:13, 1915:3–25, 1917:23–1918:3 (Sept. 22, 2023). The statute thus respects voters’

ability to make free and independent choices without undue interference during the voting process.

As the Supreme Court noted in Minnesota Voters All. v. Mansky, 585 U.S. 1 (2018), “voting is a

weighty civic act,” and states are entitled to ensure that voters can contemplate their choices in an

environment free from pressure. Id. at 15.



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        The Court’s reliance on Meyer v. Grant, 486 U.S. 414 (1988), is misplaced. ECF No. 1157

at 49, 51, 73. Unlike the Colorado law struck down in Meyer, which prohibited campaigns from

paying canvassers to solicit votes under any circumstances, Section 7.04 leaves a wide range of

canvassing activities untouched. Paid canvassers remain free to advocate for their preferred

candidates or issues outside the narrow context of being in the presence of a voter’s ballot. Tex.

Elec. Code § 276.015(e). The statute merely imposes a modest restriction on timing—allowing

paid canvassing to take place at any time and location except when the voter is actively filling out

their ballot in the canvasser’s presence. This tailored limitation ensures that voters are shielded

from undue influence without unduly burdening canvassers’ free speech rights.

        In sum, Section 7.04’s limited, as-applied restriction on paid canvassing while in the

presence of a ballot does not impose an unconstitutional burden on Plaintiffs’ rights. The statute’s

clear boundaries and narrow tailoring advance Texas’s compelling interest in protecting the

integrity of its elections and preventing undue influence on voters. Thus, the Court’s finding of

unconstitutionality as applied to Plaintiffs was wrong.

III.    State Defendants and the Public Interest Will Be Irreparably Injured Absent a Stay
        Enjoining officials from carrying out validly enacted, constitutional laws governing
elections imposes irreparable harm. Cf. Maryland v. King, 567 U.S. 1301, 1303 (2012) (Roberts,

C.J., in chambers). “It is beyond cavil that ‘voting is of the most fundamental significance under

our constitutional structure.’” Burdick v. Takushi, 504 U.S. 428, 433 (1992) (quoting Ill. Bd. of

Elections v. Socialist Workers Party, 440 U.S. 173, 184 (1979)). And it is one of the most fundamental

obligations of the State to enact clear and uniform laws for voting to ensure “fair and honest”

elections, to bring “order, rather than chaos, [to] the democratic process[],” and ultimately to

allow the vote to be fully realized. Storer v. Brown, 415 U.S. 724, 730 (1974). The permanent

injunction undermines those crucial interests as the election draws near, whereas “[a] temporary

stay will, at a minimum, minimize confusion among voters and county registrars by making voter

registration law uniform throughout the state in the crucial months leading up to the voter


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registration deadline.” Vote.Org, 39 F.4th at 309. If there is one principle that can be drawn from

the Supreme Court’s recent voting cases, it is this: “court changes of election laws close in time to

the election are strongly disfavored.” Tex. All. for Retired Ams., 976 F.3d at 567. And notably, when

a State is the moving or appealing party, “its interest and harm merge with the public.” Vote.Org

v. Callanen, 39 F.4th 297, 309 (5th Cir. 2022) (quoting Veasey v. Abbott, 870 F.3d 387, 391 (5th Cir.

2017) (per curiam).

       Here, the Court’s order upsets those crucial interests. Enjoining the challenged provisions

risks sowing confusion amongst county election officials and voters in the weeks before an

important election.

IV.    Plaintiffs Will Not Be Substantially Injured by a Stay.

       The Court must also consider whether issuance of a stay will substantially injure Plaintiffs.

In considering that factor, “the maintenance of the status quo is an important consideration in

granting a stay.” E.T. v. Paxton, 19 F.4th 760, 770 (5th Cir. 2021). Here, a stay would maintain the

status quo that has existed in Texas since September 7, 2021, when S.B. 1 was signed into law. See

Tex. Leg., An Act Relating to Election Integrity and Security, S.B. 1, 87th Leg., 2d Spec. Sess.

(2021). In contrast, this Court’s injunction would incite a state of confusion (1) in voters who are

voting in the same election under different standards and (2) in county election officials who are

attempting to determine which standard to apply to which voter at which point in time. This danger

of confusion is heightened because counties would have started mailing out ballots before the

Court’s order was rendered.




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                              CONCLUSION & RELIEF REQUESTED

       Therefore, the Fifth Circuit should have the opportunity to review this Court’s decision

before Texas’s law is permanently enjoined and the State—and corresponding public interest—is

irreparably harmed. State Defendants respectfully request that the Court grant this motion by 5:00

p.m. CST on October 2, 2024.

 Date: September 30, 2024                    Respectfully submitted.

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                                 CERTIFICATE OF CONFERENCE
        I certify that State Defendants reached out to counsel via email during the evening of
September 30, 2024. Counsel for OCA Plaintiffs, LUPE Plaintiffs, HAUL Plaintiffs, and LULAC
Plaintiffs indicated that they were opposed to this motion; counsel for the United States and Dallas
County Defendants indicated that their clients take no position on the motion. Counsel for
Intervenor-Defendants consent to the motion. Counsel for the remaining parties, including MFV
Plaintiffs, have not yet responded as to whether they oppose this motion.
                                              /s/ Ryan G. Kercher
                                              RYAN G. KERCHER



                                    CERTIFICATE OF SERVICE
       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on September 30, 2024, and that all counsel of record were served by CM/ECF.
                                              /s/ Ryan G. Kercher
                                              RYAN G. KERCHER




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